       Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 1 of 8

                                                                                         FILED
                                                                                   September 20, 2018
                         IN THE UNITED STATES DISTRICT COURT
                                                                                 CLERK, U.S. DISTRICT CLERK
                          FOR THE WESTERN DISTRICT OF TEXAS                      WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION                                            jkissler
                                                                                 BY ________________________
                                                                                                      DEPUTY

                                                  §
                                                  §
                                                  §
                                                  §
                                                  §
                                                  §
                                                  §

                                      TRANSFER ORDER

       On September 18, 2018, the Honorable Alan D. Albright was sworn in as United States

District Judge for the Western District of Texas, Waco Division. Pursuant to the consent of both

judges, all actions attached as Exhibit A before the Honorable Robert Pitman, District Judge for the

Western District of Texas, Austin Division, shall be transferred to the docket of the Honorable Alan

D. Albright.

       IT IS ORDERED that all actions attached as Exhibit A are TRANSFERRED to the

docket of the Honorable Alan D. Albright, United States District Judge, for all purposes.

       IT IS FURTHER ORDERED that pursuant to the Order Assigning the Business of the

Court effective September 18, 2018, the Clerk of Court shall credit these cases to the percentage of

business of the receiving Judge.

       IT IS FINALLY ORDERED that all current settings remain in effect.

       SIGNED on September 20, 2018.




                                                      _____________________________________
                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 2 of 8




Case Number      Parties
6:10-cv-034      Tabler v. Davis
6:15-cv-007      Stewart v. Tilley
6:15-cv-177      Buckner v. Stephens
6:15-cv-202      Grozier et al. v. Wells Fargo Bank
6:15-cv-231      Turk et al. v. Somervell County Hospital District et al
6:15-cv-311      Brooks v. Walter et al
6:15-cv-328      Evans v. USA
6:16-cv-031      Mobley v. Specialized Bicycle Components
6:16-cv-139      Lincoln Nat'l Life Ins. Co. v. Allen
6:16-cv-146      JCB, Inc. dba Conveying & Power Transmission Solutions v. The Horsburgh & Scott Co.
6:16-cv-161      USA v Ronnie Kelley (6:10-cr-069)
6:16-cv-249      USA v Terry Brown (6:99-cr-061)
6:16-cv-284      City of Hearne v. Johnson
6:16-cv-292      Mardi v. Family Dollar/Family Dollar Stores of Texas, LLC
6:16-cv-332      Gillmann v. Fisher et al
6:16-cv-340      Willich v. Sanderson Farms, Inc.
6:16-cv-341      Glass v. Texas Health and Human Services Commission et al
6:16-cv-342      McGee v. American Amicable Life Insurance Company of Texas
6:16-cv-352      Ferguson v. CVS Pharmacy, Inc.
6:16-cv-391      Williams v. Olukaka et al.
6:16-cv-393      Thiel et al v. WCS Services LLC
6:16-cv-395      Taylor v. McLennan County et al
6:16-cv-441      Yesteryear Auto, LLC et al v. Synergistic Int’l
6:16-cv-453      Cotton v. Texas Express Pipeline, LLC et al
6:16-cv-464      Samuel et al v. Frazier
6:16-cv-465      Five Star Royalty Partners, Ltd. v. Mauldin et al
6:17-cv-004      Phillips v. Davis
6:17-cv-009      Martinez v. Southwestern Corr (LaSalle)
6:17-cv-013      Vasquez et al v. McCune et al
6:17-cv-038      Harris v. FarmChem Corp.
6:17-cv-042      Gibson v Jean-Baptiste
6:17-cv-050      Terry v. Hartford Life and Accident Insurance Company
6:17-cv-052      J&J Sports Productions, Inc. v. Diaz
6:17-cv-053      Savage v. Reliance Mortgage Corporation et al
6:17-cv-055      Pisony v. McLeod
6:17-cv-071      Kubota v. Whitis
6:17-cv-075      Scott & White Memorial Hospital v. Coventry Health Care, Inc. et al
6:17-cv-076      York et al v. Toone
6:17-cv-096      Subialdea v. Dept. of Homeland Security/CBP et al
6:17-cv-101      Ortiz v. Davis

                         ATTACHMENT A,            PAGE 1 of 7
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 3 of 8


6:17-cv-111      Ferguson v. Texas Farm Bureau et al
6:17-cv-119      Willis v. Portfolio Recovery Assoc. LLC
6:17-cv-123      Stallings v. Chavez et al
6:17-cv-133      Butler v. General Motors, LLC
6:17-cv-135      Ferguson v. Sanderson Farms Inc.
6:17-cv-142      Meyers v Killeen PD
6:17-cv-145      Travelers Casualty and Surety Company of America v. C.H. Guernsey & Company
6:17-cv-148      Chavez v. Hearne Ind. School Dist.
6:17-cv-149      U.S. Bank Nat'l Ass'n v. Quinteros
6:17-cv-160      Copperas Cove Economic Development Corporation v.
6:17-cv-161      Ed Jackson Dairy, LLC v. Monterey Mushrooms, Inc.
6:17-cv-166      McLane Company, Inc. v. ASG Technologies Group, Inc.
6:17-cv-175      United States of America v. B.V.S.Construction
6:17-cv-181      Wallingford v. Werner Enterprises, Inc.
6:17-cv-182      Rice v. Dolgencorp of Texas, Inc.
6:17-cv-183      Shorter v. Linares-Aquian et al
6:17-cv-189      Majanomejia v. Vendor Resource Mgmt.
6:17-cv-190      Majanomejia v. Freedom Mortgage Corp
6:17-cv-197      USA v. Kirk
6:17-cv-198      Hayes v. Texas Westmoreland Coal Co.
6:17-cv-199      Thomas v. Select Portfolio Servicing
6:17-cv-200      Mason v. Integra Peak Management Inc. et al
6:17-cv-201      William V. et.al. v. Copperas Cove Independent School District
6:17-cv-204      Maldonado v. Werner Enterprises, Inc. et al
6:17-cv-206      Faison v. Gowadia
6:17-cv-210      Leigh Ann H. v. Riesel ISD
6:17-cv-211      Martin v. City of Temple, TX et al
6:17-cv-215      Ngene v. Western Hills SCC LLC
6:17-cv-218      Palmer v. City of Bellmead & Matthew Jordan
6:17-cv-219      Hoeffling v. Oxford Properties Group
6:17-cv-223      Caretech Supplies, LLC v. Neuman et al
6:17-cv-237      Vasquez v. Drake's Construction
6:17-cv-242      USA v. Smith & Wesson 9mm Pistol
6:17-cv-251      Brit UW Limited v. CTX Special Services Co., LLC
6:17-cv-253      Kimberly Shipper P.A. v. Thomas Price, M.D.
6:17-cv-258      Ostrander v Lindsey et al
6:17-cv-261      Davis Mutual Interests, LTD v. State Farm Lloyds
6:17-cv-262      Passmore v. City of Hearne, Texas
6:17-cv-263      Garnett v. Remington Arms Company
6:17-cv-264      Holmes v. U.S. Army
6:17-cv-265      Riley v. Berryhill
6:17-cv-267      Church Mut. Ins. Co. v. Westside Baptist Church
6:17-cv-273      AXA Insurance Co v. Magneco/Metrel Inc.

                              ATTACHMENT A,           PAGE 2 of 7
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 4 of 8


6:17-cv-280      Fikes Wholesale v. Nadeem
6:17-cv-291      Mr. Appliance LLC v. Appliance Services of Tennessee, LLC et al
6:17-cv-310      Joe Hand Promotions, Inc. v. Seay et al.
6:17-cv-311      Roncar Enterprises, LLC v. Depositors Insurance Company
6:17-cv-312      Transamerica Life Insurance Company v. Ortiz-Debaun et al
6:17-cv-317      Hope v. Blackwell
6:17-cv-321      Happy Endings Dog Rescue v. Life Partners Creditors’ Trust
6:17-cv-323      English et al. v. Texas Farm Bureau Business Corp. et al.
6:17-cv-326      Moseley v. Armstrong et al.
6:17-cv-329      A2D Enterprises, LLC et al v. Catlin Specialty Insurance Company
6:17-cv-332      McHenry v. Paxton et al.
6:17-cv-335      K.S. et al. v. Riesel ISD
6:17-cv-337      Hajicek v. Werner Enterprises
6:17-cv-344      The Grounds Guys v. Henrisken et al.
6:17-cv-345      Howell v. Jovette
6:17-cv-346      Batts v. Remington Arms Co., LLC
6:17-cv-353      Mr. Rooter v. Action Underground
6:17-cv-354      Recio-Garcia v. Ditech Financial
6:17-cv-355      Henderiks v. Providence Healthcare Network
6:17-cv-357      Rataezyk v. Receivables Management Partners, LLC
6:17-cv-360      Paez v. Akwitti et al
6:17-mc-288      In re: Motion to Quash Subpoena
6:17-mc-327      Standard Furniture v. LF Products (Joanna Gaines)
6:18-cv-001      McPherson
6:18-cv-002      USA v. Cuff
6:18-cv-003      Hernandez v. GMA Investments, et al.
6:18-cv-004      Phillips v. Davis
6:18-cv-007      Sawyer v. Copperas Cove ISD
6:18-cv-009      Joe Hand Promotions v. J&H Entertainment LLC
6:18-cv-010      Gunter v Morgan et al
6:18-cv-013      Jackson v. Experian Information Solutions, et al.
6:18-cv-015      Jackson v. City of Hearne
6:18-cv-023      Aire Serv LLC v. Haywood et al.
6:18-cv-024      Laake v. Binnicker
6:18-cv-025      Rekiel v. Wardlaw Consulting Servs
6:18-cv-034      Wagner v. UPS Ground Freight
6:18-cv-035      Briggs v. Berryhill
6:18-cv-038      Protradenet LLC v. Predictive Profiles
6:18-cv-039      Predictive Profiles v. Protradenet
6:18-cv-041      Stewart v. ARS National Services, Inc.
6:18-cv-042      Stewart v. American Coradius International, LLC
6:18-cv-043      Savage v. Hill Country Pawn et al
6:18-cv-044      Ocwen Loan Servicing v. Alosi et al.


                                ATTACHMENT A,             PAGE 3 of 7
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 5 of 8


6:18-cv-048      Knuppel v. Texas
6:18-cv-050      Gilg v Eveans et al
6:18-cv-051      Washpon v. Jane/John Does 1 et al
6:18-cv-054      Washpon v. Milam Cty Sheriff Dept.
6:18-cv-055      RetroLED Components v. Principal Lighting Group
6:18-cv-056      Ornelas v. Hamilton
6:18-cv-057      Brend v. Copperas Cove ISD
6:18-cv-058      Admiral Ins. Co. v. Henderson
6:18-cv-059      Synergistic International LLC v. Abrams
6:18-cv-061      Candi M. v. Riesel Independent School District
6:18-cv-062      Perry et al. v. Brassell et al.
6:18-cv-066      Richeson v. Ocwen Loan Servicing
6:18-cv-067      Ford v. Aetna Life Ins. Co
6:18-cv-068      Drake v. Sometime Spouse LLC
6:18-cv-070      Nolt v. Berryhill
6:18-cv-072      Vanous v TDCJ-ID et al
6:18-cv-073      Treadway v. Adora Corp
6:18-cv-077      ATD Combustors, LLC v. Ameritube, LLC
6:18-cv-078      Kutcherousky Farms v. Arriola
6:18-cv-079      Mr. Electric LLC v. Di Carlo
6:18-cv-080      Match Group, LLC v. Bumble Trading Inc.
6:18-cv-081      Match Group, LLC v. Tantan
6:18-cv-086      Wilson v. Johnson
6:18-cv-089      Ornelas v Boykin
6:18-cv-090      Robinson v. Davis
6:18-cv-096      Robertson v. Milam County et al
6:18-cv-100      Rainbow International LLC et al v. Cheyenne Partners LLC et al
6:18-cv-101      Anderson v. Fall County et al.
6:18-cv-102      Edmonson v Social Security Admin.
6:18-cv-105      Vindolor v. Euromarket Designs
6:18-cv-106      Mejia v. Harvey et al
6:18-cv-107      Vindolor, LLC v. Spec's

6:18-cv-108      Vindolor, LLC v. Retail Services and Systems, Inc.
6:18-cv-109      Linehaugh v. American-Amicable Life Ins. Co.
6:18-cv-111      Palacio v Caraway
6:18-cv-112      Hawkins v Erwin
6:18-cv-114      Stratta et al v. Roe et al
6:18-cv-116      A.J. Rabe v. Farm Service Agency
6:18-cv-117      McCutcheon v. Paladin Towing
6:18-cv-121      Davis v. Moody Independent School District et al.
6:18-cv-122      Jones v. Berryhill
6:18-cv-125      Cummings v. Davis

                           ATTACHMENT A,              PAGE 4 of 7
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 6 of 8


6:18-cv-126      Soliz v. Robles Barrera et al.
6:18-cv-128      Vest v. Taylor
6:18-cv-129      Chupik v. Union Pacific RR Co.
6:18-cv-132      Pangelinan v. Valentine & Kebartas, LLC et al.
6:18-cv-133      Stephens v. John Bean Technologies Corp. et al
6:18-cv-134      Martinez v. State of Texas
6:18-cv-135      Pangelinan v. Merchants & Profesional Credit Bureau
6:18-cv-136      Rainbow International LLC v. White et al.
6:18-cv-137      Neal v. Pilgrim's Pride Corp.
6:18-cv-139      Manning v. Jarvis
6:18-cv-140      Wentz v Fin. Credit Services Inc.
6:18-cv-141      Burkle v. Patrick et al.
6:18-cv-143      Hendren v. Esparza et al
6:18-cv-145      Miller v. Fikes Wholesale
6:18-cv-148      Hendren v. Melendez
6:18-cv-149      Doerr v. TDCJ
6:18-cv-150      Chambers v Davis
6:18-cv-151      McGuffey v. Blackwell et al.
6:18-cv-152      Gillian v. Girsh et al.
6:18-cv-153      Zurich American Ins. Co. v. Boen Plumbing et al
6:18-cv-154      Gentry v. Davis
6:18-cv-156      Bennett v. Davis
6:18-cv-157      KIM v. KO
6:18-cv-161      Rainbow International LLC v. Metzler et al.
6:18-cv-162      Edaakie v. Shilo Inn, Killeen, LLC et al.
6:18-cv-163      Grant v. U.S. Department of Defense
6:18-cv-165      McCall v. Child Protective Services
6:18-cv-167      Byrd v Davis
6:18-cv-168      Tant v. Wal-Mart
6:18-cv-169      Tomasek v. Financial Business and Consumer Sols.
6:18-cv-170      Mercury Tool and Machine, Incorporated v. Dolic Trucking, LLC et al
6:18-cv-171      Brown v. J&J Logistics, Inc. et al.
6:18-cv-172      McNeill v. ERM IV, LP et al
6:18-cv-174      Ray v. Davis
6:18-cv-175      Foster v. Couch, Conville
6:18-cv-176      Deutsche Bank v. Leija et al.
6:18-cv-177      Moore v Collier et al
6:18-cv-178      Johnson v. Department of the Army
6:18-cv-179      Taylor v. Dolgencorp of Texas
6:18-cv-180      Strange v Global Virtual Opport.
6:18-cv-181      Myles v State Class. Committee
6:18-cv-184      Hendren v. Melendez
6:18-cv-185      Jefferson v. U.S.

                        ATTACHMENT A,             PAGE 5 of 7
                                                       Z
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 7 of 8


6:18-cv-186      Aggregate Mining Process v. Vezer Industrial Professionals
6:18-cv-188      Kervin v Davis
6:18-cv-189      Fair v. Metalcraft of Mayville
6:18-cv-190      Savage v. Hartford Insurance Company of the Midwest et al
6:18-cv-192      Finley v. Vermeer Manufacturing Company et al.
6:18-cv-194      Shoesmith v. GM
6:18-cv-195      Brown v. Berryhill
6:18-cv-196      Smith v. Davis
6:18-cv-201      Rainbow International LLC v. Dill Contracting and Properties Inc. et al.
6:18-cv-202      Drake v. WVPG LLC
6:18-cv-203      USA v Woods (6:15-cr-032)
6:18-cv-204      Taylor v. Robinson I.S.D.
6:18-cv-206      U.S. v. Lafitte
6:18-cv-207      Multimedia Content Management LLC v. DISH Network Corp.
6:18-cv-208      Blanchard v. Geers
6:18-cv-209      Rainbow Int'l LLC v. Rapid Response Restoration LLC
6:18-cv-210      Caretech Supplies, LLC v. Coryell Co. Memorial Hospital Authority
6:18-cv-211      Premier Plus IP Holdings, LLC v. Physicians Premier Properties, LLC
6:18-cv-213      Hicks v. Home Depot USA Inc
6:18-cv-214      Walker v. Davis
6:18-cv-215      Walker v. Davis
6:18-cv-218      Ramirez v Davis
6:18-cv-220      USA v. Lopez
6:18-cv-221      B-Inspired Hotels v Depositors Insurance Co., et al
6:18-cv-222      Gomez v Payne
6:18-cv-223      Poree v Akwitti
6:18-cv-226      Doe v. Abbott I.S.D.
6:18-cv-227      Marrero v. Commissioner of Soc. Sec
6:18-cv-228      Harrison v. US Bank Trust NA
6:18-cv-229      Middleton v. USA
6:18-cv-232      Parella v Akwitti
6:18-cv-233      Stafford v Berryhill
6:18-cv-234      Collins v. Davis
6:18-cv-235      Wilmington Savings Funds Socitey v. Owens et al.
6:18-cv-236      Duprey Santiago v. Commissioner of Soc. Security
6:18-cv-237      Citizens State Bank v. Leslie
6:18-cv-238      Walker v Armstrong
6:18-cv-239      Abushanab v Davis-Director TDCJ
6:18-cv-241      Noble v McGlothlin et al
6:18-cv-242      Rodriguez-Bitler v Esper
6:18-cv-243      Vanous v Akwitti
6:18-cv-244      USA v McCorkle (6:16-cr-317)
6:18-cv-245      Yoakum v. Director, TDCJ

                           ATTACHMENT A,              PAGE 6 of 7
              Case 6:17-cv-00181-ADA-JCM Document 24 Filed 09/20/18 Page 8 of 8


6:18-cv-251      Centennial Bank v STBuilders Alabama LLC et al
6:18-cv-253      Morales Paz et al v. Goodyear Tire & Rubber Company et al
6:18-cv-254      Moore v. Davis-Director TDCJ
6:18-cv-256      Lathern v. Cincinnati Insurance Co.
6:18-cv-257      Doerr v. Texas Workforce Commission
6:18-cv-258      Price v Davis
6:18-cv-259      A-1 Fire and Safety Equipment Co., Inc. v. Pye-Barker Fire & Safety, LLC
6:18-cv-261      Mayfield et al v The United States of America
6:18-cv-264      Olivo v. Comm’r of Soc. Sec.
6:18-cv-265      Page v. Davis
6:18-cv-267      Vanous v Capt John Ritter
6:18-cv-268      Banks v Davis
6:18-cv-269      Baksinski v. Luminant Energy Company, LLC
6:18-cv-270      Webb v Davis
6:18-cv-272      Watson v USA
6:18-cv-273      Guerrero-Yanez v Davis
6:18-mc-045      SEC v. Meissner




                              ATTACHMENT A,             PAGE 7 of 7
